           Case 7:20-cv-01332-PMH Document 15 Filed 03/24/20 Page 1 of 1
Attorney(s)      Bromberg Law Office, P.C.
Index#           7:20-CV-01332-NSR
Purchased/Filed: February 14, 2020
State of New York
Court:           U. S. District
County:          Southern Dist.
                                  AFFIDAVIT OF SERVICE- SECRETARY OF STATE
                                                Dana Stephenson
                                                                                                                        Plaintiff(s)


                                                         against


                                        Exclusive Motor-Sports LLC et al
                                                                                                                        Defendant(s)

                                                                                                        Approx. Age:     55 yrs
  STATE OF NEW YORK )                       DESCRIPTION OF PERSON SERVED:
  COUNTY OF ALBANY ) SS                                                                                                   White
  CITY OF ALBANY    )                      Weight:       120 lbs Height:      5' 1"     Sex: Female Color of skin :

                                           Hair color:     Brown     Other:   -----------------
                       Sean Warner                                 , being duly sworn , deposes and says: deponent is over
  the age of eighteen (18) years; is not a party to this action, and resides in the State of NY, and that on
           March 9, 2020              , at 12:25PM , at the office of the Secretary of State of the State of NY,
  located at 99 Washington Ave, 6th Fl, Albany, New York 12231 deponent served:
                                         Summons in A Civil Action & Complaint




   on
                                                      Exclusive Motor-Sports LLC


   the Defendant in this action, by delivering to and leaving with                                Nancy Dougherty
  AUTHORIZED AGENT in the Office of the Secretary of State, of the State of New York, personally at the
  Office of the Secretary of State of the State of New York, two (2) true copies thereof and that at the time of
   making such service, deponent paid said Secretary of State a fee of                      $40       dollars; That said service

  was made pursuant to Section          LIMITED LIABILITY COMPANY LAW §303.


   Deponent further says that deponent knew the person so served as aforesaid to be the agent in the Office

   of the Secretary of State of the State of New York, duly authorized to accept such service on behalf of said

   defendant.
   Sworn to before me on this

     9th   day of                March 2020

 q---&i#1~          NOTA:P~~=
                                                                                                  Sean Warner
                    No. 01CO6158874, Albany County                                       lnvolce·Work Order I 2007164
                     Commission Expires Jan 8, 2023
                                                                                      Attorney File # Stephenson
